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                          Case No. 20-71765 (L)
         (consolidated with Case Nos. 20-72734 and 20-72749)

                 UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT
                  LEAGUE OF CALIFORNIA CITIES, et al.,
                                    Petitioners,

                                          v.
              FEDERAL COMMUNICATIONS COMMISSION,
                                  Respondents,


          ON PETITION FOR REVIEW OF AN ORDER OF THE
            FEDERAL COMMUNICATIONS COMMISSION

    FURTHER SUPPLEMENTAL EXCERPTS OF RECORD OF
  PETITIONERS LEAGUE OF CALIFORNIA CITIES, et al. (No. 20-
   71765); CITY OF SEATTLE, WA, et al. (No. 20-72734); CITY OF
  BOSTON, MA, et al. (No. 20-72749); and INTERVENORS CITY OF
              THOUSAND OAKS, et al. (No. 20-71765)


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Intervenors in No. 20-71765, and               No. 20-72734
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May 22, 2020

VIA EMAIL AND ELECTRONIC FILING

Chairman Pai
Commissioner O’Rielly
Commissioner Carr
Commissioner Rosenworcel
Commissioner Starks
Federal Communications Commission
445 12th Street, SW
Washington, District of Columbia 20554


RE:     Implementation of State and Local Governments’ Obligation to Approve Certain Wireless
        Facility Modification Requests Under Section 6409(a) of the Spectrum Act of 2012, WT
        Docket No. 19-250; RM-11849

Dear Chairman Pai and Commissioners O’Rielly, Carr, Rosenworcel and Starks,

        The National Association of Telecommunications Officers and Advisors (“NATOA”), 1 the
National League of Cities (“NLC”), 2 the National Association of Counties (“NACo”), 3 The United
States Conference of Mayors (“USCM”) 4 and the National Association of Towns and Townships
(“NATaT”) 5 (“Local Governments”) urge the Commission to delay consideration of the
Declaratory Ruling and Notice of Proposed Rulemaking in Docket 19-250, currently on the draft
agenda for the Commission’s June 9, 2020 meeting.

1
  NATOA’s membership includes local government officials and staff members from across the nation
whose responsibility it is to develop and administer communications policy and the provision of such
services for the nation’s local governments.
2
  NLC is the oldest and largest organization representing cities and towns across America. NLC
represents 19,000 cities and towns of all sizes across the country.
3
  NACo represents county governments, and provides essential services to the nation’s 3,069 counties.
4
  USCM is the official nonpartisan organization of cities with populations of 30,000 or more. There are
more than 1,400 such cities in the country today. Each city is represented in the Conference by its chief
elected official, the mayor.
5
  NATaT represents the interests of more than 10,000 towns and townships across the country at the
federal level.



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        The proposed Declaratory Ruling, as currently drafted, would dramatically impact the way
that local governments across the nation manage their eligible facilities request applications and
require major changes to stealth or screening requirements for wireless deployments. Because the
item did not arise out of a rulemaking proceeding, the Commission has not had the benefit of local
government input into the proposal.

        As a member of the intergovernmental partnership, local governments are a critical
component of the Commission’s proposal process. However, the Commission’s sunshine rules
would require all communications with the Commission on the proposed order to cease on June 2
- giving local governments less than two weeks to provide the Commission with insight on
practical implications of the proposed order.

        Local governments are now serving as our nation’s front line defense as our country faces
a rapidly evolving public health and economic crisis. To ensure an efficient and effective response
to the COVID-19 pandemic, local governments need a strong yet flexible federal partner. As such,
we would request that the proposed matter be carried over to a later agenda this summer to ensure
our local intergovernmental partners can provide the appropriate time and attention to the
regulatory proposals.

        During these unique and challenging times, local governments remain a productive partner
in assisting the nation win the race to 5G - just as they did during the deployment of past
generations.

       We thank you for the Commission’s time and consideration of this request.

Sincerely,




Nancy Werner                                         Matthew D. Chase
General Counsel                                      Executive Director
National Association of Telecommunications           National Association of Counties
Officers and Advisors




Clarence E. Anthony                                  Tom Cochran
CEO and Executive Director                           CEO and Executive Director
National League of Cities                            The United States Conference of Mayors



Jennifer Imo
Executive Director
National Association of Towns and Townships

                                                2

                                                                                            FER-2
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                                          Commission
                                          Meeting Agenda
                                          A Public Notice of the Federal Communications Commission
Federal Communications Commission         News Media Information (202) 418-0500
445 12th Street, S.W.                     Internet: http://www.fcc.gov
Washington, D.C. 20554                    TTY (888) 835-5322

                                                                                               June 2, 2020

                     FCC TO HOLD OPEN COMMISSION MEETING
                              TUESDAY, JUNE 9, 2020

The Federal Communications Commission will hold an Open Meeting on Tuesday, June 9, 2020,
which is scheduled to commence at 10:30 a.m. Due to the current COVID-19 pandemic and
related agency telework and headquarters access policies, this meeting will be in a wholly
electronic format and will be open to the public on the Internet via live feed from the FCC’s web
page at www.fcc.gov/live and on the FCC’s YouTube channel.

ITEM NO.               BUREAU                                  SUBJECT
    1               WIRELINE                TITLE: Rural Digital Opportunity Fund Final
                 COMPETITION &              Auction Procedures (AU Docket No. 20-34; WC
                  ECONOMICS &               Docket No. 19-126; WC Docket No. 10-90)
                   ANALYTICS                SUMMARY: The Commission will consider a
                                            Public Notice that would establish procedures for
                                            the Phase I auction of the Rural Digital
                                            Opportunity Fund (Auction 904), awarding up to
                                            $16 billion in support over 10 years for deployment
                                            of broadband in unserved areas.


    2            WIRELESS TELE-             TITLE:      Modernizing and Expanding Access to
                COMMUNICATION               the 70/80/90 GHz Bands (WT Docket Nos. 20-133,
                                            10-153, 15-244; RM-11824, RM-11825)
                                            SUMMARY: The Commission will consider a
                                            Notice of Proposed Rulemaking and Order that
                                            would explore innovative new uses of the 71–76
                                            GHz, 81–86 GHz, 92–94 GHz, and 94.1–95 GHz
                                            bands, including potential rule changes to allow for
                                            the provision of wireless backhaul for 5G and the
                                            deployment of broadband services to aircraft and
                                            ships.
    3            WIRELESS TELE-             TITLE: State/Local Approval of Wireless
                COMMUNICATION               Equipment Modifications (WT Docket No. 19-250;
                                            RM-11849)


                                           *The summaries listed in this notice are intended for the use of the
                                           public attending open Commission meetings. Information not
                                           summarized may also be considered at such meetings. Consequently,
                                           these summaries should not be interpreted to limit the Commission's
                                           authority to consider any relevant information.
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                                           SUMMARY: The Commission will consider a
                                           Declaratory Ruling and Notice of Proposed
                                           Rulemaking that would clarify, and seek comment
                                           on changes to, the Commission’s rules
                                           implementing section 6409(a) of the Spectrum Act
                                           of 2012 in order to accelerate the deployment of
                                           communications infrastructure by facilitating the
                                           upgrade of existing sites for 5G networks.


    4                  MEDIA               TITLE: Promoting Broadcast Internet Innovation
                                           through ATSC 3.0 (MB Docket No. 20-145)
                                           SUMMARY: The Commission will consider a
                                           Declaratory Ruling that would remove regulatory
                                           uncertainty concerning use of Broadcast Internet
                                           services provided by broadcast TV licensees as an
                                           ancillary and supplementary service, and a Notice
                                           of Proposed Rulemaking that would seek comment
                                           on modifying and clarifying existing rules to
                                           promote the deployment of Broadcast Internet
                                           services as part of the transition to ATSC 3.0.


    5            ENFORCEMENT               TITLE: Enforcement Bureau Action
                                           SUMMARY: The Commission will consider an
                                           enforcement action.


The meeting will be webcast with open captioning at: www.fcc.gov/live. Open captioning will
be provided as well as a text only version on the FCC website. Other reasonable
accommodations for people with disabilities are available upon request. In your request, include
a description of the accommodation you will need and a way we can contact you if we need more
information. Last minute requests will be accepted but may be impossible to fill. Send an e-mail
to: fcc504@fcc.gov or call the Consumer & Governmental Affairs Bureau at 202-418-0530.

Additional information concerning this meeting may be obtained from the Office of Media
Relations, (202) 418-0500. Audio/Video coverage of the meeting will be broadcast live with
open captioning over the Internet from the FCC Live web page at www.fcc.gov/live.

                                            -FCC-




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which to review multiple purported eligible facilities requests related to the same

site, at the same time, but by different applicants.

       For example, how could a local official know that a proposed increase in

height by one carrier on a shared monopine would not exceed the cumulative height

limit if submitted while another carrier on the same monopine sought a similar

modification? Likewise, the inability to establish a baseline condition may result in

multiple conflicting approvals.

       Accordingly, the Commission should decline to act on any proposal that

would require local governments to accept applications by the applicant’s method of

choice. This approach would be consistent with the Commission’s policy choices in

the 2014 Infrastructure Order that stressed cities should have “flexibility . . . to

exercise their rights and responsibilities” regarding procedures for review of

applications under Section 6409(a).17

           2.      WIA’s Proposal to Commence the Shot Clock After a “Good Faith
                   Attempt” Lacks a Basis in the Act, the Record and Common Sense

       To support its rule change, the Commission must construe ambiguities in a

manner the statute permits.18 However, neither Section 6409(a), Section 332(c)(7),

WIA’s unverified allegations, nor the downstream implications of WIA’s proposal

justify a clarification. The Commission should therefore reject the proposed “good

faith attempt” and “any reasonable process” standards.19


17 2014 Infrastructure Order at ¶ 221.
18 See Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 842–43 (1984).
19 Many arguments raised by certain Western Communities Coalition members in the Commission’s

Small Cell Order proceeding are applicable to this issue. See In the Matter of Accelerating Wireless


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{00050769;4}
                                                                                               FER-5
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               a.      The Proposed “Good Faith Attempt” Standard Conflicts with the
                       Plain Language in Section 332(c)(7)(B)(ii)

       WIA’s proposed “good faith attempt” and “any reasonable process” standards

conflict with the plain text in the shot clock’s underlying statute. Section

332(c)(7)(B)(ii) states in full:

               A State or local government or instrumentality thereof
               shall act on any request for authorization to place,
               construct, or modify personal wireless service facilities
               within a reasonable period of time after the request is
               duly filed with such government or instrumentality,
               taking into account the nature and scope of such
               request.20

       The statute requires more than a mere “good faith attempt” to file by “any

reasonable process” determined by the applicant. By the ordinary definitions, the

phrase “duly filed” literally means to properly initiate a judicial or administrative

proceeding by submitting the proper documents or following proper procedure. 21

Any interpretation to mean an event less than actual submittal through the proper

local procedures would directly conflict with the statute.

               b.      The Proposed Rule Would Reverse the 2014 Infrastructure Order
                       Based on Vague and Unverified Anecdotes in the Petitions




Broadband Deployment by Removing Barriers to Infrastructure Investment, Comments of the
League of Arizona Cities and Towns et al., WT Docket No. 17-79 at 14–25 (Jun. 15, 2017). Rather
than restate them here, the Western Communities Coalition attaches those comments as Exhibit F
and incorporates them herein by this reference.
20 47 U.S.C. § 332(c)(7)(B)(ii) (emphasis added).
21 See Duly, Merriam-Webster, https://www.merriam-webster.com/dictionary/duly (“properly”); File,

Merriam-Webster, https://www.merriam-webster.com/dictionary/filed (last visited Oct. 10, 2019) (“to
submit (a legal document) to the proper office (as the office of a clerk of court) for keeping on file
among the records especially as a procedural step in a legal transaction or proceeding”).


                                                 -8-
{00050769;4}
                                                                                                FER-6
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       Despite the Commission’s request for factual data, WIA maligns unnamed

communities with vague and unverified anecdotes.22 These “bad actor” stories are

legally insufficient evidence upon which to support a rule change that will impact

thousands of localities. Rather, WIA’s practice of leaving local governments

guessing whether a factual basis to its stories exist can only be viewed as an

attempt to evade scrutiny. Even if there is any truth to the allegations, which is

impossible to determine from the current record, the existing deemed granted

remedy is sufficient to combat isolated incidents of a local refusal to process a

Section 6409(a) request.

       As the Commission properly recognized in the 2014 Infrastructure Order, “the

prospect of a deemed grant will create significant incentives for States and

municipalities to act in a timely fashion.”23 WIA’s selective storytelling does not

indicate whether its members even attempted to leverage a deemed grant, or

whether other factors involved in the application absolve the maligned localities.

Regrettably, and perhaps by design, WIA provides no opportunity to refute, correct

or verify these and similar allegations.

       Accordingly, the Commission should afford these allegations no weight and

reject WIA’s proposed rule change. Considering the factual data and


22 Compare Public Notice (inviting interested parties to submit factual data and economic analysis),
with WIA Decl. R. Petition at 8 (providing no support for its claim that (1) some “localities” have no
EFR procedures and claim they cannot process such applications until the procedures are
established; (2) “jurisdictions claim that additional information not required by local codes must be
provided before it will accept an EFR; (3) “some localities simply refuse to acknowledge or accept
EFRs and thus claim that the shot clock has not been triggered.”; and (4) “some local governments
will bounce an EFR between departments or processes and then disregard the shot clock or argue
that the shot clock has not started.”).
23 2014 Infrastructure Order at ¶ 233.



                                                 -9-
{00050769;4}
                                                                                                 FER-7
